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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA




   UNITED STATES OF AMERICA

       v.                                         Case no.: 22-CR-66 (CJN)

   MATTHEW JASON BEDDINGFIELD




             Defendant’s Response in Opposition to Government’s Motion to
                             Revoke Conditions of Release

   The Defendant, Matthew Jason Beddingfield, by and through Counsel, hereby

submits this response in opposition to Government’s Motion to Revoke Conditions of

Release and place Mr. Beddingfield in custody. Mr. Beddingfield did not willfully

violate any conditions of release. As the violation was not willful, the Government

cannot show Mr. Beddingfield is unlikely to abide by any condition or combination of

conditions of release. Accordingly, detention is not warranted.

                                       Background

   On March 17, 2022, Mr. Beddingfield was granted release by this Court subject to

conditions. (D.E. 20). The conditions included the following:

    Home Detention. You are restricted to your residence at all times except for

    employment; education; religious services; medical, substance abuse, or mental

    health treatment; attorney visits; court appearances; court-ordered obligations; or

    other activities approved in advance by the pretrial services office or supervising

    officer. (Order Setting Conditions of Release. at ¶ (7)(q) (ii); D.E. 20).
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                                                                     (Emphasis Added)


      On May 3, 2022, a status report was filed by US Probation stating Mr.

Beddingfield was in full compliance. (D.E. 22). On May 4, 2022 the Court held a

hearing and relaxed the conditions of release to permit work privileges. In an effort

to prepare himself for work, Mr. Beddingfield made a haircut appointment with his

usual stylist at 3PM on Saturday, May 7, 2022. On May 6, 2022, the day prior to the

hair appointment, Mr. Beddingfield contacted his supervising officer, Scott Plaster,

and requested permission to go the next day to his scheduled hair appointment.

Contrary to the Government’s allegation that Officer Plaster impermissibly loosened

the Court’s Order, Officer Plaster properly used his discretion as authorized by this

Court and generously advised Mr. Beddingfield he not only had permission to go to

the salon at 3PM but he could also go out and do any essential shopping. Officer

Plaster advised Mr. Beddingfield he had 4-hours in which to accomplish all tasks.

 On Saturday, May 7, 2022 Mr. Beddingfield’s mother drove to her father’s home and

picked up her son for the purpose of preparing him to begin his employment.

Together they left the residence just before 3PM and drove directly to the hair salon,

located about 20-minutes from Mr. Beddingfield’s home. After his haircut was

completed, mother and son went to Kohl’s department store and did some shopping.

At 5:17PM, around the standard time for the Beddingields’ dinner, mother and son

quickly stopped at Buffalo Wild Wings and ate dinner. Mrs. Beddingfield also ordered

take-out for her other son. According to the receipt, no alcoholic beverages were

ordered. The Beddingfields’ dinner ticket was closed out less than ten minutes later

at 5:24PM. (See exhibit 1) The Beddingfields got back into the car and Mrs.
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Beddingfield drove by her cul-de-sac and waited in the car for her other son to come

out of the house, run down the road to the car and get his dinner. Neither Mr.

Beddingfield nor his mother exited the vehicle. Next, the two went to Mr.

Beddingfield’s sister’s home to pick up a pair of work boots needed for his

employment. (See exihibit 2) After a brief visit, Mrs. Beddingfield took her son home.

Mr. Beddingfield was home within the prescribed four-hour window. Mr.

Beddingfield was unaware he was in violation of the conditions of release until the

violation report was filed.

   Unfortunately, the Beddingfields misunderstood the term “essential shopping” and

the authorization granted by Officer Plaster. The Beddingfields did not realize they

were only permitted to go directly to the salon and retail stores and directly back to

Mr. Beddingfield’s residence. Instead, they believed they were permitted a four-hour

window to run any errands needed to prepare him for his work. The Beddingfields

were focused on the four-hour window and took particular care not to be late. The

Beddingfields also knew Mr. Beddingfield was expressly forbidden from being in the

presence of his father. Hence, the Beddingfields waited at the end of the cul-de-sac

for the other son to run out to them and get his dinner. They simply did not

understand he was not permitted to go to any restaurant, his sister’s home for his

work boots, or to get takeout for his brother.

      Officer Plaster notified the Washington D.C. office of the violation as required.

However, Officer Plaster did not believe the violation was willful and, hence,

recommended to the US Probation office in Washington D.C. that Mr. Beddingfield’s

sanction for the violation simply be less time in the future to conduct essential

shopping. However, the US Probation Office in Washington D.C. rejected Officer
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Plaster’s recommendation and instead requested “[T]he defendant be removed from

all supervision programs. If the Court is not inclined to remove the defendant from

supervision DC PSA requests the defendant be placed on home incarceration…” (D.E.

24)

                                        Argument

      Pursuant to 18 USC §§ 3148(b)(1)(B) and 3148(b)(2)(B) the court may revoke

release if the Government proves by clear and convincing evidence the person has

violated any condition of release and if so, the person is unlikely to abide by any

condition or combination of conditions of release. The Government in its motion, fails

to acknowledge the requisite showing to revoke conditions of release. Regardless of

how Black’s Law Dictionary defines strict liability, strict liability is not the standard

used to revoke conditions of release as prescribed by congress. Contrary to the

Government’s argument that this Court gave Mr. Beddingfield an inch, and Mr.

Beddingfield took a mile; Mr. Beddingfield and his mother did not intentionally do

anything they believed would violate the conditions of release. Instead, Mr.

Beddingfield and his mother mistakenly believed they were following all of the

restrictions imposed by the Court. The Government cannot show Mr. Beddingfield is

unlikely to abide by any condition or combination of conditions of release as he was

trying to abide by the ordered conditions.

   The Beddinfields did follow the conditions of release as they understood the

conditions. They followed the four-hour window requirement, avoided Mr.

Beddingfield’s father, and prepared Mr. Beddingfield for his first day of work. At no

other time has there been any failure to follow this Court’s Order. The

misunderstanding by Mr. Beddingfield is just that a misunderstanding. Hence, the
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Government cannot show Mr. Beddingfield is unlikely to abide by any condition or

combination of conditions of release.

                                        Conclusion

      For the reasons stated above revocation of the release conditions is not

warranted.


       Respectfully submitted this 23th day of May, 2022.


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                                  Federal Public Defender

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 CERTIFICATE OF SERVICE


 I HEREBY CERTIFY that a copy of the foregoing was served upon:

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 by electronically filing the foregoing with the Clerk of Court using the CM/ECF
 system which will send notification of such filing to the above.

      Respectfully submitted this 23th day of May, 2022.


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